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                                                                                       03/26/2018

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17cv00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
       Defendants.                              )       United States Magistrate Judge

         This matter is before the Court on Defendant Michael Enoch Peinovich’s Motion to Stay

  Discovery. ECF No. 224. Peinovich, appearing pro se, asks the Court to stay all discovery in this

  matter pending the resolution of his Rule 12(b)(6) motion to dismiss the Amended Complaint.

  Def. Peinovich’s Br. in Supp. 1, ECF No. 225. The motion to stay has been fully briefed, Pls.’

  Br. in Opp’n, ECF No. 240; Def. Peinovich’s Reply Br., ECF No. 252, and both parties had an

  opportunity to address the motion at a hearing on March 16, 2018.

         Although this Court “has broad discretion to stay discovery pending resolution of a

  motion to dismiss,” granting a stay on that basis is “‘generally disfavored because delaying

  discovery may cause case management problems as the case progresses.’” Bennett v. Fastenal

  Co., No. 7:15cv543, 2016 WL 10721816, at *1 (W.D. Va. Mar. 8, 2016) (quoting Fed. Ins. Co.

  v. S. Lithoplate, Inc., No. 5:12cv793, 2013 WL 4045924, at *1 (E.D.N.C. Aug. 8, 2013)). A

  litigant seeking an order that postpones or curtails discovery must show good cause, Fed. R. Civ.

  P. 26(c), by “present[ing] a ‘particular and specific demonstration of fact’ as to why a protective

  order staying discovery should issue.” Baron Fin. Corp. v. Natanzon, 240 F.R.D. 200, 202 (D.

  Md. 2006) (quoting 8A Charles Wright & Arthur Miller, Federal Practice & Procedure § 2035

  (2d ed. 1994)); see 8A Wright & Miller, Federal Practice & Procedure § 2037 (3d ed. 2012)

  (noting that Rule 26(c)’s good cause standard applies to a request to stay discovery pending the



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  resolution of a motion to dismiss). “Rule 26(c)’s good cause requirement ‘creates a rather high

  hurdle’ for the moving party.” Wilson v. First Class Patrol Officers, No. 2:15cv2170, 2016 WL

  1253179, at *4 (D.S.C. Mar. 31, 2016) (quoting Baron Fin. Corp., 240 F.R.D. at 202).

         Here, Peinovich’s brief offers only “conclusory statements” and “[b]road allegations of

  harm, unsubstantiated by specific examples or articulated reasoning,” to support his stay request.

  Baron Fin. Corp., 240 F.R.D. at 202 (quotation marks omitted) (explaining that such statements

  and allegations do not establish good cause to delay discovery). For example, Peinovich asserts

  that “the burdens on [himself] . . . to respond to [P]laintiffs’ broad and invasive discovery

  [requests] are extreme, and there is no urgency requiring the parties to proceed to discovery

  while the motions to dismiss are pending,” but he does not articulate any concrete facts

  explaining these assertions. Def. Peinovich’s Br. in Supp. 2; see generally id. at 3–6, 7 (quoting

  excerpts from Plaintiffs’ first set of interrogatories and requests for production, and asserting that

  “[t]he burden on Peinovich . . . to respond to such harassing and highly objectionable discovery

  requests is tremendous”); Def. Peinovich’s Reply Br. 1–4. While the former concern might

  provide legitimate grounds for Peinovich to challenge specific discovery requests, Fed. R. Civ. P.

  26(b)(2), 33(b)(4), 34(b)(2), it does not establish good cause for staying all discovery pending

  the resolution of his motion to dismiss, Fed. R. Civ. P. 26(c). See generally Wilson, 2016 WL

  1253179, at *3; Kron Med. Corp. v. Groth, 119 F.R.D. 636, 637–38 (M.D.N.C. 1988).

         Moreover, the fact that Peinovich’s Rule 12(b)(6) motion, if granted, could dispose of all

  claims against him is not reason enough to delay discovery, Fed. Ins. Co., 2013 WL 4045924, at

  *1 n.2, because Plaintiffs say they would seek relevant discovery from Peinovich even if he is

  dismissed as a named defendant, Pls.’ Br. in Opp’n 4–6. See Bell, Inc. v. GE Lighting, LLC, No.

  6:14cv12, 2014 WL 1630754, at *6 (W.D. Va. Apr. 23, 2014) (noting that the scope of discovery



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  from a non-party under a subpoena duces tecum is “the same as the scope of a discovery request

  made upon a party to the action, and a party is entitled to information that is relevant to a claim

  or defense in the matter at issue” (quotation marks omitted)); cf. Owens v. Mayor & City Council

  of Baltimore, Civil Case No. 11-3295, 2015 WL 6082131, at *3 (D. Md. Oct. 13, 2015) (denying

  motion to stay defendant’s deposition because plaintiff would “nevertheless seek to dispose him

  as a fact witness” even if his “Rule 12 motion is successful and he is granted absolute

  immunity”). Accordingly, for these reasons and those stated on the record during the March 16

  hearing, Defendant Peinovich’s Motion to Stay Discovery, ECF No. 224, is hereby DENIED.

            At the hearing, Plaintiffs’ counsel informed the Court that Peinovich’s and the other

  Defendants’ 1 responses to Plaintiffs’ first set of discovery requests served on January 25, 2018,

  are now past due, see Fed. R. Civ. P. 33(b)(2), 34(b)(2)(A), and that pro se Defendant Richard

  Spencer, who was also present at the hearing, had not yet provided his required initial

  disclosures, see Fed. R. Civ. P. 26(a)(1). Plaintiffs’ counsel asked that, if the Court denied

  Peinovich’s motion to stay discovery, its written order also impose a deadline by which the

  Defendants and Spencer must comply with their outstanding discovery obligations. Accordingly,

  the Defendants are DIRECTED to answer, respond, or object to Plaintiffs’ first set of discovery

  requests, Pls.’ Br. in Opp’n 2, within twenty-one (21) days from the date of this Order. See Fed.

  R. Civ. P. 33(b)(3)–(4), 34(b)(2)(B)–(C). Defendant Spencer and Plaintiffs are DIRECTED to

  exchange required initial disclosures within fourteen (14) days from the date of this Order. Fed.

  R. Civ. P. 26(a)(1).

            It is so ORDERED.

            The Clerk shall deliver a copy of this Order to counsel of record and any unrepresented

  parties who have appeared in the case.
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      A separate order entered this day addresses discovery responses from Defendants Cantwell and Fields.
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                                     ENTER: March 26, 2018



                                     Joel C. Hoppe
                                     United States Magistrate Judge




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